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                                                                    Mar 29, 2024

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                                           AFFIDAVIT

        I, Special Agent Kelly Hughes, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.         I am a Special Agent with seventeen years of investigative experience. I have

 been assigned to the United States Department of Homeland Security (“DHS”) as a Special Agent

 since February 2007. I am currently assigned to Homeland Security Investigations (“HSI”),

 Special Agent in Charge Miami, Document and Benefit Fraud Task Force, and have been so

 assigned since October 2023. My responsibilities, training, and experience include investigation

 of a wide variety of violations of federal law, including document fraud, benefit fraud, wire fraud,

 and other financial crimes. I have received training and experience on the job both formal and

 informal, in the enforcement of fraud laws related to bank fraud and wire fraud. I am familiar with

 and have utilized many of the traditional methods of investigation, including without limitation,

 visual surveillances, electronic surveillances, informant, suspect, and witness interviews,

 consensually recorded telephone conversations, covert audio and video surveillance, defendant

 debriefings, the use of confidential sources, undercover operations, examinations of bank and

 financial documents, the execution of search warrants, and the controlled purchase of contraband

 and other items used during the commission of federal offenses.

        2.         I make this Affidavit in support of a criminal complaint charging TOMAS

 ALKSNYS, a/k/a “John Himmer,” with violations of Title 18, United States Code, Section 1344

 (Bank Fraud).

        3.         The facts set forth in this Affidavit are based on (a) my personal observations;

 (b) my training and experience; (c) information obtained from other federal and state agents,

 witnesses including bank investigators, and other persons; and (d) documents and records obtained
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 from these persons, and from public and other sources. Because your affiant submits this Affidavit

 for the limited purpose of showing probable cause, I have not included each and every fact that I

 have learned in this investigation in this Affidavit. Additionally, unless indicated otherwise, all

 statements and conversations described herein are related in substance and part only rather than

 verbatim.

                            FACTS IN SUPPORT OF PROBABLE CAUSE

           4.        In March and June of 2023, via the Internet Crime Complaint (“IC3”) Center,1

 at least three individuals reported to law enforcement that they were victims of a scheme whereby

 they wired funds to a bank account for the purchase of vehicles advertised for sale online, yet the

 vehicles were never delivered. The IC3 victims identified Company 1 as the recipient of the wired

 funds.

           5.        According to records filed with the Florida Division of Corporations, available

 at the website sunbiz.org, Company 1 was formed as a Florida limited liability company on or

 about January 10, 2023. Company 1 Articles of Organization identify “John Himmer,” with a listed

 address in Sunny Isles Beach, Florida, as the managing member of Company 1.

           6.        Law enforcement subsequently obtained bank records for various accounts

 opened in the name of Company 1 at Bank 1 and Bank 2 in the Southern District of Florida. Both

 Bank 1 and Bank 2 are insured by the Federal Deposit Insurance Corporation.

           7.        According to Bank 1 records, on or about March 2, 2023, “John Himmer” with

 a date of birth in 1998 opened a business bank account in the name of Company 1, utilizing a

 Lithuanian passport, ending in -8405, at a Bank 1 branch located in Miami, Florida.




 1
     IC3 is a public national website where victims of cybercrime can file a complaint or report.


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         8.       Information obtained by the State Department in Lithuania confirmed that no

 Lithuanian national with the name “John Himmer” and with that date of birth in 1998 exists.

         9.       According to Bank 2 records, on or about February 28, 2023, at a branch in

 Aventura, Florida, “John Himmer” opened a business bank account in the name of Company 1,

 bearing account number -7298 (hereafter, the “Company 1 -7298 Account”). Bank 2 records

 confirmed that “John Himmer” was the sole authorized signatory on the Company 1 -7298

 Account. Bank 2 records also revealed that $100 was deposited into the Company 1 -7298 Account

 on or about March 21, 2023 at a Bank 2 branch on Bay Harbor Island, Florida.

         10.      Through review of the Company 1 -7298 Account records, law enforcement

 identified and interviewed two additional potential victims, Victim 1 and Victim 2, both of whom

 made five-figure wires into the Company 1 -7298 Account.

         11.      Victim 1 resides in Rowe, Virginia. According to Victim 1, in or around May

 2023, Victim 1 attempted to purchase a 1969 Chevy Camaro through what Victim 1 thought to be

 a legitimate website for a well-known online auction company. After seeing the 1969 Chevy

 Camaro advertised for sale on the website, Victim 1 communicated via email with the purported

 seller, who identified herself as “S.C.,” regarding the purchase of the 1969 Chevy Camaro. S.C.

 instructed Victim 1 to wire approximately $24,400 to the Company 1 -7298 Account and

 represented that the 1969 Chevy Camaro would be delivered to Victim 1 upon receipt of the wire.

         12.      According to Victim 1, and as confirmed by Company 1 -7298 Account records,

 Victim 1 wired approximately $24,400 to the Company 1 -7298 Account on or about May 11,

 2023.




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         13.      Victim 1 stated the 1969 Chevy Camaro was never delivered and attempts to

 contact the seller were not successful. Victim 1 then discovered the online auction website had

 been removed.

         14.      According to Company 1 -7298 Account records, prior to receipt of Victim 1’s

 $24,400 wire on or about May 11, 2023, the Company 1 -7298 Account had a balance of $0.

         15.      According to Company 1 -7298 Account records, on or about May 12, 2023,

 after Victim 1’s $24,400 wire cleared, it was immediately dissipated through two cash

 withdrawals: $10,000 in cash was withdrawn at a Bank 2 branch in Bay Harbor Island, Florida;

 and $14,000 in cash was withdrawn at a Bank 2 branch in North Miami, Florida.

         16.      Victim 2 resides in New York, New York. According to Victim 2, in or around

 May 2023, Victim 2 attempted to purchase a Mercedes Benz through what Victim 1 thought to be

 a legitimate online auction website. After seeing the Mercedes Benz advertised for sale on the

 website, Victim 2 communicated with an unidentified female subject via telephone, who instructed

 Victim 2 to wire approximately $63,749 to the Company 1 -7298 Account and represented that the

 Mercedes Benz would be delivered to Victim 2 upon receipt of the wire.

         17.      According to Victim 2, and as confirmed by Company 1 -7298 Account records,

 Victim 2 wired approximately $63,749 to the Company 1 -7298 Account on or about May 18,

 2023.

         18.      Victim 2 attempted to recall the wire on the same day, due to having a bad

 feeling, but Bank 2 was unable to reverse the wire. Victim 2 attempted to email and call the

 unknown subject, but no one responded. Victim 2 reported that the auction website was removed

 from the Internet three days after Victim 2 sent the wire to the Company 1 -7298 Account. Victim

 2 never received the Mercedes Benz.




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        19.       According to Company 1 -7298 Account records, prior to receipt of Victim 2’s

 $63,749 wire on or about May 18, 2023, the Company 1 -7298 Account had a balance of

 approximately $360.

        20.       That same day, following Victim 2’s $63,749 wire, the Company 1 -7298

 Account received a second wire in the amount of approximately $84,500, bringing the total balance

 to approximately $143,609.

        21.       From on or about May 18, 2023, through on or about May 24, 2022, the funds

 in the Company 1 -7298 Account were dissipated via cash withdrawals, wires, and debit card

 purchases, until the Company 1 -7298 Account over-drafted with a negative balance.

        22.       Two of the cash withdrawals, in the amounts of $10,000 and $28,000,

 respectively, occurred on or about May 22, 2023 at a Bank 2 branch in Hollywood, Florida.

        23.       Bank 2 provided surveillance video footage from the March 21, 2023 $100

 counter deposit at the Bank 2 branch on Bay Harbor Island, Florida, as well as from the two May

 22, 2023 cash withdrawals at the Bank 2 branch in Hollywood, Florida. From review of the stills

 from the video surveillance, it appears to be the same individual conducting the transactions

 regarding the Company 1 Bank Account on both March 21, 2023 and May 22, 2023.

        24.       Video from the May 22, 2023 transactions reveals the individual presenting what

 appears to be a red Lithuanian passport to the teller. Stills from the video surveillance from the

 May 22, 2023 cash withdrawals from the Company 1 Bank Account follow:




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        25.       Law enforcement used facial recognition software to determine that the

 individual captured on video surveillance conducting the May 22, 2023 cash withdrawals was

 ALKSNYS, a Lithuanian national without legal status in the United States. A photograph of

 ALKSNYS from an official United States border crossing, dated October 19, 2022, follows:




        26.       According to United States immigration records, ALKSNYS entered the United

 States with a valid Lithuanian passport in his own name pursuant to the Visa Waiver Program via

 Dallas Fort Worth International Airport on or about October 19, 2022, and remained in the United

 States when Company 1 was formed on or about January 10, 2023. On or about January 15, 2023,

 ALKSNYS departed the United States via Ft. Lauderdale International Airport for Mexico. When

 ALKSNYS attempted to return to the United States via Ft. Lauderdale International Airport on or

 about January 18, 2023, he was denied entry pursuant to the Visa Waiver Program. There is no

 immigration record of ALKSNYS’ re-entry into the United States subsequent to his January 15,

 2023 departure. On or about November 10, 2023, however, ALKSNYS was encountered by law

 enforcement in Miami-Dade County and placed into the custody of Enforcement and Removal

 Operations.




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